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 1
      ANTHONY P. CAPOZZI, CSBN: 068525
 2    LAW OFFICES OF ANTHONY P. CAPOZZI
      1233 W. SHAW AVE., SUITE 102
 3    FRESNO, CALIFORNIA 93711
      PHONE: (559) 221-0200
      FAX: (559) 221-7997
 4    EMAIL: Anthony@capozzilawoffices.com
      www.capozzilawoffices.com
 5

 6    ATTORNEY FOR Defendant,
      SAY ENG
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                 ******
11    UNITED STATES OF AMERICA,                          Case No.: 1:13-CR-00136-AWI-BAM
12
                     Plaintiff,                          STIPULATION TO CONTINUE TRIAL
13                                                       CONFIRMATION AND JURY TRIAL
             v.                                          AND ORDER
14
                                                         Date: August 30, 2016
15    SAY ENG,                                           Time: 8:30 a.m.
                                                         Courtroom: 2
16                   Defendant.                          Hon. Anthony W. Ishii
17

18           IT IS HEREBY STIPULATED by the parties hereto, through their respective

19    attorneys of record, that the Jury Trial, presently set for August 30, 2016, be vacated. The

20    parties stipulate that the Trial Confirmation currently set for August 8, 2016, at 10:00 a.m. be

21    continued to October 11, 2016, at 10:00 a.m. and a Jury Trial be set for November 1, 2016, at

22    8:30 a.m. It is further stipulated that the August 8, 2016, hearing remain on calendar at 10:00

23    a.m. as a Change of Plea.

24           Good cause exists for this request, by both parties, to continue this matter. Counsel

25    needs additional time for continued negotiations and investigations and trial preparation.

26           Based on the above-stated findings, the ends of justice served by vacating the trial date

27    and continuing this matter for status conference as requested outweigh the interest of the public

28    and the defendant in a trial within the original date prescribed by the Speedy Trial Act.
                                                        1
                          STIPULATION TO CONTINUE TRIAL CONFIRMATION AND JURY TRIAL
                                       CASE NO.: 1:13-CR-00136-AWI-BAM
     Case 1:13-cr-00136-DAD-BAM Document 414 Filed 07/01/16 Page 2 of 2
 1          For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 2    seq., within which trial must commence, the time period of August 8, 2016, through

 3    November 1, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

 4    B(iv) because it results from a continuance granted by the Court at defendant’s request on the

 5    basis of the Court's finding that the ends of justice served by taking such action outweigh the

 6    best interest of the public and the defendant in a speedy trial.

 7             So Stipulated:

 8                                               Respectfully submitted,

 9    Dated:       June 30, 2016           By: /s/Grant B. Rabenn
                                               GRANT B. RABENN
10                                             Assistant United States Attorney
11

12

13    Dated:       June 30, 2016           By: /s/Anthony P. Capozzi
                                               ANTHONY P. CAPOZZI
14                                             Attorney for SAY ENG

15
                                                   ORDER
16
               IT IS SO ORDERED. Good cause having been shown, the Trial Confirmation set for
17
      August 8, 2016, at 10:00 a.m. and the Jury Trial set for August 30, 2016, at 8:30 a.m. are
18
      hereby vacated. Trial Confirmation is continued to October 11, 2016, at 10:00 a.m. and the
19
      Jury Trial is continued to November 1, 2016, at 8:30 a.m. A Change of Plea is hereby
20
      scheduled for August 8, 2016, at 10:00 a.m. Additionally, time shall be excluded by stipulation
21
      from the parties and pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv).
22

23
      IT IS SO ORDERED.
24
      Dated:    July 1, 2016
25                                                  SENIOR DISTRICT JUDGE
26

27

28
                                                        2
                          STIPULATION TO CONTINUE TRIAL CONFIRMATION AND JURY TRIAL
                                       CASE NO.: 1:13-CR-00136-AWI-BAM
